                             UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                  HARRISBURG DIVISION

    In re:                                                 Chapter 11

    ROMAN CATHOLIC DIOCESE OF                              Case No. 1:20-bk-00599 (HWV)
    HARRISBURG,

                           Debtor.1


                DEBTOR’S APPLICATION FOR ENTRY OF AN
          ORDER APPROVING THE EMPLOYMENT AND RETENTION OF
     WALLER LANSDEN DORTCH & DAVIS, LLP AS COUNSEL FOR THE DEBTOR
       AND DEBTOR IN POSSESSION EFFECTIVE AS OF THE PETITION DATE

             The Roman Catholic Diocese of Harrisburg, the debtor and debtor in possession (the

“Debtor”), by and through its undersigned proposed counsel, files this application for entry of an

order, substantially in the form attached to this application as Exhibit A, authorizing the Debtor

to retain and employ Waller Lansden Dortch & Davis, LLP (“Waller”) as its attorneys effective as

of the Petition Date (as defined below). In support of this application, the Debtor submits the

declaration of Blake D. Roth, a partner of Waller (the “Roth Declaration”), which is attached to

this application as Exhibit B, and the declaration of Very Reverend David L. Danneker, Ph.D.,

Vicar General and Moderator of the Curia for the Debtor (the “Danneker Declaration”), which is

attached to this application as Exhibit C. In further support of this application, the Debtor

respectfully states as follows:

                                         JURISDICTION AND VENUE

             1.    The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for



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 The last four digits of the Debtor’s federal tax identification number are: 4791. The Debtor’s principal place of
business is located at 4800 Union Deposit Road, Harrisburg, Pennsylvania 17111.


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the Middle District of Pennsylvania. This is a core proceeding pursuant to 28 U.S.C. § 157(b),

and the Debtor consents to the entry of a final judgment or order with respect to the Motion if it

is determined that the Court, absent consent of the parties, cannot enter final orders or judgments

consistent with Article III of the United States Constitution.

         2.        Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                              BACKGROUND

         3.        On February 19, 2020 (the “Petition Date”), the Debtor filed a voluntary petition

for relief in this Court, pursuant to chapter 11 of the Bankruptcy Code, commencing this case (the

“Chapter 11 Case”).

         4.        The Debtor continues to operate its business as a debtor in possession, pursuant to

sections 1107(a) and 1008 of the Bankruptcy Code.

         5.        No request for the appointment of a trustee or examiner has been made in this

Chapter 11 Case, nor have any committees been appointed or designated.

         6.        A description of the Debtor’s business, the reasons for commencing this Chapter

11 Case, the relief sought from this Court, and the facts and circumstances supporting this motion

are set forth in the Informational Brie of the Roman Catholic Diocese of Harrisburg (the

“Informational Brief”) and the Declaration of Christopher G. Linscott in Support of First Day

Motions (the “Linscott Declaration” and, with the Informational Brief, collectively, the “First

Day Informational Pleadings”).

                                           RELIEF REQUESTED

         7.        By this application, the Debtor seeks entry of an order authorizing the retention and

employment of Waller as its attorneys, in accordance with the terms and conditions set forth in

that certain engagement letter between the Debtor and Waller, effective as of July 15, 2019 (the

“Engagement Letter”), a copy of which is attached as Exhibit 1-B to the Roth Declaration.
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                                            BASIS FOR RELIEF

         8.        The bases for the relief requested in this application are sections 327(a) and 330 of

title 11 of the United States Code (the “Bankruptcy Code”), Rules 2014(a) and 2016 of the

Bankruptcy Rules, and Local Rules 2014-1 and 2016-1 of the Local Bankruptcy Rules (the “Local

Rules”) for the United States Bankruptcy Court for the Middle District of Pennsylvania.

                                      WALLER’S QUALIFICATIONS

         9.        Waller is well qualified to represent the Debtor in this Chapter 11 Case. Waller is

a national firm with over 235 attorneys in offices located in Austin, Nashville, Chattanooga,

Memphis, and Birmingham. Waller has extensive expertise and experience in virtually all aspects

of the law that may arise in this Chapter 11 Case, including substantial expertise in the fields of

bankruptcy and restructuring, corporate, employee benefits, environmental, finance, intellectual

property, labor and employment, litigation, real estate, securities, and tax.

         10.       The attorneys in Waller’s Finance and Restructuring Group2 have significant

experience representing debtors in large and complex cases under the Bankruptcy Code. In past

years, Waller has represented debtors in the chapter 11 cases of: (a) In re Walker County Hospital

Corporation, Case No. 19-36300 (Bankr. S.D. Tex.); (b) In re Promise Healthcare Group, Inc.,

Case No. 18-12491 (Bankr. D. Del.); (c) In re Little River Healthcare Holdings, LLC, et al., Case

No. 18-60526 (Bankr. W.D. Tex.); (d) In re Stone Panels, Inc. and Stone Panels Holding

Corporation, No. 16-32856 (Bankr. N.D. Tex); (e) In re Oxane Materials, Inc., No. 15-32940

(Bankr. S.D. Tex.); (f) In re Ranch 967 LLC, No. 15-10314 (Bankr. W.D. Tex.); (g) In re Blue

Matrix Labs, LLC, No. 15-52977 (Bankr. W.D. Tex.); (h) In re Adilace Holdings, Inc. f/k/a Image

Trends, Inc., No. 14-11583 (Bankr. W.D. Tex.); (i) In re Advanced Living Technologies, Inc., No.


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  Waller’s Austin attorneys previously worked for the firm of Taube Summers Harrison Taylor Meinzer Brown, LLP
(f/k/a Hohmann, Taube & Summers, LLP ) before joining Waller in February 2016.
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13-10313 (Bankr. W.D. Tex.); and (j) In re Church Street Health Management, LLC, No. 12-

01573 (Bankr. M.D. Tenn.).

         11.       Given Waller’s breadth of experience in large bankruptcy matters as well as

Waller’s expansive areas of expertise, Waller is well qualified to represent the Debtor in this

Chapter 11 Case.

         12.       In addition to the foregoing, Waller has been providing the Debtor with a wide array

of legal services in connection with the Debtor’s restructuring and reorganization efforts.

         13.       Waller’s professionals have worked closely with the Debtor’s management and

other professionals with regard to these matters and has become well-acquainted with the Debtor’s

corporate history, structure, business operations, and the background that has lead the Debtor to

file this Chapter 11 Case.

         14.       As a result, Waller has developed relevant experience and expertise regarding the

Debtor that will assist Waller in providing effective and efficient services in this Chapter 11 Case.

                                      SERVICES TO BE PROVIDED

         15.       Subject to further order of this Court, and consistent with the Engagement Letter,

the Debtor requests the retention and employment of Waller to render the following legal services:

                   a.     advising the Debtor with respect to its powers and duties as a debtor in
                          possession in the continued management and operation of the Debtor’s
                          business and property;

                   b.     advising and consulting on the conduct of this Chapter 11 Case, including
                          all of the legal and administrative requirements of operating in a case under
                          chapter 11 of the Bankruptcy Code;

                   c.     attending meetings and negotiating with representatives of creditors and
                          other parties in interest;

                   d.     taking all necessary actions to protect and preserve the Debtor’s estate,
                          including prosecuting actions on the Debtor’s behalf, defending any action
                          commenced against the Debtor, and representing the Debtor in negotiations

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                          concerning litigation in which the Debtor is involved, including objections
                          to claims filed against the Debtor’s estate;

                   e.     preparing pleadings in connection with this Chapter 11 Case, including
                          motions, applications, answers, orders, reports, and papers necessary or
                          otherwise beneficial to the administration of the Debtor’s estate;

                   f.     representing the Debtor in connection with obtaining authority to continue
                          using cash collateral and obtaining postpetition financing;

                   g.     advising the Debtor in connection with any potential sale of assets;

                   h.     appearing before this Court and any appellate courts to represent the
                          interests of the Debtor’s estate;

                   i.     advising the Debtor regarding tax matters;

                   j.     taking any necessary action on behalf of the Debtor to negotiate, prepare,
                          and obtain approval of a disclosure statement and confirmation of a chapter
                          11 plan and all documents related to the foregoing; and

                   k.     performing all other necessary legal services for the Debtor, in connection
                          with the prosecution of this Chapter 11 Case, including: (i) analyzing the
                          Debtor’s leases and contracts and the assumption and assignment or
                          rejection of same; (ii) analyzing the validity of liens against the Debtor or
                          its estate; and (iii) advising the Debtor on corporate and litigation matters.

                                    PROFESSIONAL COMPENSATION

         16.       Waller intends to apply for compensation for professional services rendered on an

hourly basis and reimbursement of expenses incurred in connection with this Chapter 11 Case,

subject to this Court’s approval and in compliance with applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules, and Local Rules, and any other applicable procedures and orders of

the Court.

         17.       The hourly rates and corresponding rate structure Waller will use in this Chapter

11 Case are the same as the hourly rates and corresponding rate structure that Waller uses in other

restructuring matters, as well as similar complex corporate, securities, and litigation matters,

whether in court or otherwise, regardless of whether a fee application is required.


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         18.       These rates and the rate structure reflect that such restructuring and other complex

matters typically are national in scope and involve great complexity, high stakes, and severe time

pressures.

         19.       Waller operates in a national marketplace for legal services in which rates are

driven by multiple factors relating to the individual lawyer, his or her area of specialization, the

firm’s expertise, performance, and reputation, the nature of the work involved, and other factors.

         20.       Waller’s currently hourly rates for the 2020 calendar year (the “Current Hourly

Rates”) for matters related to the Debtor’s restructuring and this Chapter 11 Case are as follows:

               Professional Level                                   Hourly Rate Range

               Partner                                           $395 - $765
               Sr. Counsel                                       $475 - $665
               Counsel                                           $385 - $610
               Sr. Associate                                     $335 - $410
               Associate                                         $280 - $335
               Staff Attorney                                    $210 - $350
               Paralegal                                         $180 - $270
               Staff                                             $20 - $285

         21.       Waller’s hourly rates are set at a level designed to compensate Waller fairly for the

work of its professionals and paraprofessionals and to cover fixed and routine expenses. The hourly

rates charged by Waller vary with experience and seniority of the individuals providing services.

The hourly rates are subject to periodic adjustments, to reflect economic and other conditions.

         22.       The above hourly rates are consistent with the rates Waller charges other

comparable chapter 11 clients, regardless of the location of the chapter 11 case.

         23.       The rate structure provided by Waller is appropriate and not significantly different

from (a) the rates Waller charges for other similar types of representations or (b) the rates that

other comparable counsel would charge to do work similar to the work Waller proposed to perform

in this Chapter 11 Case.
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         24.       In addition, Waller maintains a policy of charging its clients in all areas of practice

for identifiable, non-overhead expenses incurred in connection with the client’s case that would

not have been incurred except for the representation of that particular client.

         25.       Waller only charges its clients the amount actually incurred by Waller in connection

with such items.

         26.       Examples of items Waller charges to clients include, but are not limited to, postage

(including overnight mail), transportation, overtime expenses, computer assisted legal research,

photocopies, and travel expenses (e.g., airfare, meals, and lodging).

                     COMPENSATION RECEIVED BY WALLER FROM THE DEBTOR

         27.       Per the terms of the Engagement Letter, on July 22, 2019, the Debtor paid Fifty

Thousand Dollars ($50,000) to Waller as an advance payment retainer consistent with the

Tennessee Rules of Professional Conduct.3

         28.       Pursuant to the Engagement Letter, on December 13, 2019, the Debtor paid an

additional One Hundred Fifty Thousand Dollars ($150,000) to Waller, bringing the advance

payment retainer balance (the “Retainer Balance”) to Two Hundred Thousand Dollars ($200,000).

         29.       A chart identifying the statements setting forth the professional services provided

by Waller to the Debtor and the expenses incurred by Waller in connection with such services, as

well as the advance payment retainer transferred by the Debtor to Waller, prior to the Petition Date

is set forth in the Roth Declaration.

         30.       Pursuant to Rule 2016(b), Waller has neither shared nor agreed to share (a) any

compensation it has received or may receive with another party or person, other than with the



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 In order to make payments to third parties, the Debtor funds, or causes to be funded, payments to Harrisburg Catholic
Administrative Services, Inc. (“HCAS”). As part of its administrative responsibilities pursuant to certain services
agreements, HCAS, in turn, makes payments to such third parties on the Debtor’s behalf using such funds.
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partners, associates, and contract attorneys associated with Waller or (b) any compensation another

person or party has received or may receive.

         31.       As of the Petition Date, the Debtor did not owe Waller any amounts for legal

services rendered before the Petition Date.

         32.       Although certain expenses and fees may have been incurred but not yet applied to

Waller’s advance payment retainer, the amount of Waller’s advance payment retainer always

exceeded any amounts listed or to be listed on statements describing services rendered and

expenses incurred (on a “rates times hours” and “dates of expenses incurred” basis) prior to the

Petition Date.

         33.       Consistent with past practice, Waller will charge no more than $0.20 per page for

standard duplication services in this Chapter 11 Case, and Waller does not charge its clients for

incoming facsimile transmissions.

         34.       Throughout this Chapter 11 Case, Waller will maintain detailed, contemporaneous

records of time spent, as well as any actual and necessary expenses incurred, in connection with

the rendering of the legal services described above by category and nature of the services rendered.

         35.       Notwithstanding the foregoing, Waller acknowledges its compensation will be

subject to approval by this Court.

         36.       As set forth in the Roth Declaration, Waller intends to apply to this Court for

payment of compensation and reimbursement of expenses, in accordance with the procedures set

forth in the applicable provisions of section 330 and section 331 of the Bankruptcy Code, the

Bankruptcy Rules, and the Local rules, as those procedures may be modified or supplemented by

order of this Court.




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          37.      Waller has agreed not to share with any person or firm the compensation to be paid

for professional services rendered in connection with this Chapter 11 Case, other than as permitted

pursuant to section 504 of the Bankruptcy Code.

          38.      Waller also intends to make a reasonable effort to comply with the U.S. Trustee’s

request for information and additional disclosures as set forth in the U.S. Trustee Fee Guidelines,

both in connection with this application and the interim and final fee applications to be filed by

Waller in this Chapter 11 Case.

          39.      The Debtor will be approving a prospective budget and staffing plan for Waller’s

engagement for the postpetition period as appropriate.

          40.      In accordance with the U.S. Trustee Fee Guidelines, the budget may be amended,

as necessary to reflect changed or unanticipated developments.

          41.      The Debtor has also approved the Waller attorneys staffed on this engagement,

subject to modification depending upon further case developments.

          42.      As set forth in the Danneker Declaration, the Debtor recognizes that it is the

Debtor’s responsibility to review the billing practices of its counsel, to ensure that the fees and

expenses remain consistent with the Debtor’s expectations and the exigencies of this Chapter 11

Case.

          43.      The Debtor will review the invoices of its professionals, including the invoices of

Waller.

          44.      By separate application, the Debtor is seeking Court approval of the retention and

employment of Keegan, Linscott & Associates, PC as financial advisors, and Kleinbard, LLC as

special counsel. The Debtor has also previously sought approval of Epiq Corporate Restructuring,

LLC as the Debtor’s claims, noticing, and balloting agent. The Debtor may also file motions or


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applications to employ additional professionals. Each of the Debtor’s Professionals works and will

continue to work under the direction of the Debtor’s management.

           45.     The Debtor’s senior management is committed to minimizing duplication of

services, to reduce professional costs, among other things. To that end, Waller will work closely

with each of the Debtor’s Professionals to ensure that there is no unnecessary duplication of effort

or cost.

                                    WALLER’S DISINTERESTEDNESS

           46.     To the best of the Debtor’s knowledge and as disclosed in this application and the

Roth Declaration, (a) Waller is a “disinterested person” within the meaning of section 101(14) of

the Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code, and does not hold or

represent an interest adverse to the Debtor’s estate and (b) Waller has no connection to the Debtor,

its creditors, or other parties in interest, except as may be disclosed in the Roth Declaration.

           47.     Waller will review its files periodically during the pendency of this Chapter 11

Case, to ensure that no conflicts or other disqualifying circumstances exist or arise.

           48.     If any new relevant facts or relationships are discovered or arise, Waller will use

reasonable efforts to identify such further developments and will promptly file a supplemental

declaration, as required by Rules 2014(a) of the Bankruptcy Rules.

                                    BASIS FOR RELIEF REQUESTED

           49.     Section 327(a) of the Bankruptcy Code provides that a debtor in possession may,

with the court’s approval, employ professionals that do not hold or represent an interest adverse to

the estate and that are “disinterested persons,” as defined by section 101(14) of the Bankruptcy

Code, to represent or assist the debtor in possession in carrying out its duties under the Bankruptcy

Code. See 11 U.S.C. § 101(14). Additionally, section 1107(b) of the Bankruptcy Code provides

that a professional is not disqualified for employment by a chapter 11 debtor in possession under
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section 327(a) of the Bankruptcy Code solely because of its employment by or representation of

the debtor before the commencement of the case. See 11 U.S.C. § 1107(b).

         50.       Waller’s services will enable the Debtor to execute faithfully their duties as a debtor

in possession, and are necessary to the successful functioning of the Chapter 11 Case. Based upon

both its extensive experience and expertise, and its prior representation of the Debtor, Waller is

both well-qualified and uniquely able to represent the Debtor during the Chapter 11 Case in an

efficient, cost-effective, and timely manner. As stated above, the Debtor does not believe that

Waller holds or represents any interest adverse to the Debtor’s estate, and they believe that Waller

is a “disinterested person” under the Bankruptcy Code. Accordingly, the Debtor submits that the

retention of Waller is in the best interests of the Debtor, their estate, and their creditors and should

be approved by the Court.

                                        RESERVATION OF RIGHTS

         51.       Nothing contained in this application is intended or should be construed as an

admission as to the validity of any claim against the Debtor, a waiver of the Debtor’s rights to

dispute any claim, or an approval or assumption of any agreement, contract, or lease under section

365 of the Bankruptcy Code.

         52.       Similarly, if this Court grants the relief sought in this application, any payment

made pursuant to the Court’s order is not intended and should not be construed as an admission as

to the validity of any claim or a waiver of the Debtor’s rights to dispute such claim subsequently.

                                                  NOTICE

         53.       The Debtor has provided notice of this application by electronic mail, facsimile, or

overnight mail to: (a) the Office of the United States Trustee for the Middle District of

Pennsylvania; (b) the Debtor’s twenty (20) largest unsecured creditors; (c) the Debtor’s secured

creditors; and (d) all parties entitled to notice pursuant to Rule 2002 of the Bankruptcy Rules.
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         54.       Given the nature of the relief requested in this motion, the Debtor submits that no

other or further notice is necessary or required.

                                          NO PRIOR REQUEST

         55.       The Debtor has not made a prior request to this Court or any other court for the

relief sought in this motion.

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         WHEREFORE, the Debtor respectfully requests that the Court grant the relief requested

herein and such other and further relief as the Court may deem just and proper.

Dated: February 24, 2020

                                             Respectfully submitted,


                                             /s/ David L. Danneker
                                             Very Reverend David L. Danneker, Ph.D.
                                             Vicar General and Moderator of the Curia

WALLER LANSDEN DORTCH & DAVIS, LLP

Blake D. Roth (State Bar No. 306951)
Tyler N. Layne (admitted pro hac vice)
511 Union Street, Suite 2700
Nashville, TN 37219
Telephone:    (615) 244-6380
Facsimile:    (615) 244-6804
Email:        blake.roth@wallerlaw.com
              tyler.layne@wallerlaw.com

-and-

KLEINBARD, LLC

Matthew H. Haverstick (State Bar No. 85072)
Joshua J. Voss (State Bar No. 306853)
Three Logan Square
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Philadelphia, Pennsylvania 19103
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               jvoss@kleinbard.com

Proposed Attorneys for the Debtor and Debtor In Possession




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                                   Exhibit A

                                Proposed Order




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                            UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                 HARRISBURG DIVISION

In re:                                                    Chapter 11

ROMAN CATHOLIC DIOCESE OF                                 Case No. 1:20-bk-00599 (HWV)
HARRISBURG,

                          Debtor.1


      ORDER APPROVING THE EMPLOYMENT AND RETENTION OF WALLER
      LANSDEN DORTCH & DAVIS, LLP AS COUNSEL FOR THE DEBTOR AND
        DEBTOR IN POSSESSION EFFECTIVE AS OF THE PETITION DATE

         Upon consideration the application (the “Application”)2 filed by the above-captioned

Debtor; and the Court having found that it has jurisdiction to consider the Application and the

relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and upon consideration of the

Roth Declaration and Danneker Declaration in support thereof; and the Court having found that

consideration of the Application and the relief requested therein is a core proceeding pursuant to

28 U.S.C. § 157(b); and the Court having found that venue of this proceeding in this District is

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that notice of the Application as

set forth therein is sufficient under the circumstances; and the Court having reviewed the

Application and having considered statements in support of the Application at the hearing held

before this Court (the “Hearing”); and the Court having determined that the legal and factual

bases set forth in the Application and at the Hearing establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court; and after due deliberation and

sufficient cause appearing therefor,


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  The last four digits of the Debtor’s federal tax identification number are: 4791. The Debtor’s principal place of
business is located at 4800 Union Deposit Road, Harrisburg, Pennsylvania 17111.
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  Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the
Application.


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         IT IS THEREFORE ORDERED:

         1.        Pursuant to section 327(a) of the Bankruptcy Code and Local Rule 2014(c), the

Debtor shall be, and hereby is, authorized to employ Waller effective as of the Petition Date, in

accordance with the terms and conditions set forth in the Application and in the Engagement

Letter, as modified herein, as its general counsel to render legal services to the Debtor as needed

throughout the course of this Chapter 11 Case, including all professional services as outlined in

the Application and Engagement Letter, and Waller is hereby authorized to perform any and all

such necessary and appropriate professional services for the Debtor in this case.

         2.        Waller shall charge the Debtor’s estate for its legal services in accordance with its

ordinary and customary hourly rates in effect on the date services are rendered, and Waller shall

maintain detailed records of all actual, necessary and appropriate costs and expenses incurred in

connection with the aforementioned professional services.

         3.        Waller shall be compensated upon appropriate application in accordance with

sections 330 and 331 of the Bankruptcy Code, applicable provisions of the Bankruptcy Rules,

Local Rules, and any other applicable procedures and orders of the Court, including by making a

reasonable effort to comply with the Guidelines for Reviewing Applications for Compensation

and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11

Cases Effective as of November 1, 2013 (the “Revised UST Guidelines”), both in connection

with the Application and the interim and final fee applications to be filed by Waller in this

chapter 11 case.

         4.        The costs and expenses incurred by Waller shall be reimbursed in conformity with

applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules and the

Revised UST Guidelines.


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         5.        Waller is authorized to apply the advance payments to satisfy any unbilled or

other remaining prepetition fees and expenses Waller becomes aware of during its ordinary

course billing review and reconciliation.

         6.        Prior to any increases in Waller’s rates beyond the 2020 rates set forth in the

Application, Waller shall file a supplemental declaration with the Court and provide ten (10)

business days’ notice to the Debtor, the United States Trustee and any official committee. The

supplemental affidavit shall explain the basis for the requested rate increases in accordance with

section 330(a)(3)(F) of the Bankruptcy Code and state whether the Debtor has consented to the

rate increase. The United States Trustee retains all rights to object to any rate increase on all

grounds including, but not limited to, the reasonableness standard provided for in section 330 of

the Bankruptcy Code, and the Court retains the right to review any rate increase pursuant to

section 330 of the Bankruptcy Code.

         7.        Waller shall use its reasonable efforts to avoid any duplication of services

provided by any of the Debtor’s other retained professionals in this Chapter 11 Case.

         8.        The relief granted herein shall be binding upon any chapter 11 trustee appointed

in the Chapter 11 Case, or upon any chapter 7 trustee appointed in the event of a subsequent

conversion of the Chapter 11 Case to a case under chapter 7.

         9.        The Debtor and Waller are authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order in accordance with the Application.

         10.       Notice of the Application as provided therein is deemed to be good and sufficient

notice of such Application, and the requirements of the Bankruptcy Code, the Bankruptcy Rules,

and the Local Rules are satisfied by the contents of the Application.




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         11.       To the extent the Application is inconsistent with this Order, the terms of this

Order shall govern.

         12.       The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         13.       This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




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                                    Exhibit B

                           Declaration of Blake D. Roth




4816-5144-5426.4

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                            UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                 HARRISBURG DIVISION

In re:                                                   Chapter 11

ROMAN CATHOLIC DIOCESE OF                                Case No. 1:20-bk-00599 (HWV)
HARRISBURG,

                          Debtor.1


         DECLARATION OF BLAKE D. ROTH IN SUPPORT OF DEBTOR’S
    APPLICATION FOR ENTRY OF AN ORDER APPROVING THE EMPLOYMENT
        AND RETENTION OF WALLER LANSDEN DORTCH & DAVIS, LLP
         AS COUNSEL FOR THE DEBTOR AND DEBTOR IN POSSESSION
     EFFECTIVE AS OF THE PETITION DATE, TOGETHER WITH DISCLOSURE
        OF COMPENSATION PURSUANT TO BANKRUPTCY RULE 2016(b)

         Pursuant to 28 U.S.C. § 1746, I, Blake D. Roth, hereby declare and state as follows:

                                               FOUNDATION

         1.        I am a partner in the law firm of Waller Lansden Dortch & Davis LLP (“Waller”).

I am admitted to practice before the courts of the Commonwealth of Pennsylvania, State of

Tennessee, State of New Jersey, and the United States District Court for the Middle District of

Pennsylvania, among others. I submit this declaration (this “Declaration”), pursuant to sections

327(a) and 329 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2014 and

2016(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rules 2014-1

and 2016-1 of the Local Bankruptcy Rules for the United States Bankruptcy Court for the

Middle District of Pennsylvania (the “Local Rules”), and the Guidelines for Reviewing

Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by

Attorneys in Larger Chapter 11 Cases, effective November 1, 2013 (the “U.S. Trustee Fee


1
 The last four digits of the Debtor’s federal tax identification number are: 4791. The Debtor’s principal place of
business is located at 4800 Union Deposit Road, Harrisburg, Pennsylvania 17111.


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Guidelines”), in support of the Debtor’s Application for Entry of an Order Approving the

Employment and Retention of Waller Lansden Dortch & Davis LLP as Counsel for the Debtor

and Debtor in Possession Effective as of the Petition Date (the “Application”).2 Unless otherwise

stated in this Declaration, I have personal knowledge of the facts set forth herein.

                           THE DEBTOR’S RETENTION OF WALLER

         2.        Waller is a national law firm with over 235 attorneys in five offices located in

Austin, Nashville, Chattanooga, Memphis, and Birmingham. Waller has extensive expertise and

experience in virtually all aspects of the law that may arise in the above-captioned chapter 11

case (the “Chapter 11 Case”), including substantial expertise in the fields of bankruptcy and

restructuring, healthcare, corporate, employee benefits, environmental, finance, intellectual

property, labor and employment, litigation, real estate, securities, and tax.

         3.        The attorneys in Waller’s Finance and Restructuring Practice Group3 have

significant experience representing debtors in large and complex cases under the Bankruptcy

Code. In the past several years, Waller has represented the debtors in the chapter 11 cases of:

(a) In re Walker County Hospital Corporation, Case No. 19-36300 (Bankr. S.D. Tex.); (b) In re

Promise Healthcare Group, Inc., Case No. 18-12491 (Bankr. D. Del.); (c) In re Little River

Healthcare Holdings, LLC, et al., Case No. 18-60526 (Bankr. W.D. Tex.); (d) In re Stone

Panels, Inc. and Stone Panels Holding Corporation, No. 16-32856 (Bankr. N.D. Tex); (e) In re

Oxane Materials, Inc., No. 15-32940 (Bankr. S.D. Tex.); (f) In re Ranch 967 LLC, No. 15-10314

(Bankr. W.D. Tex.); (g) In re Blue Matrix Labs, LLC, No. 15-52977 (Bankr. W.D. Tex.); (h) In

re Adilace Holdings, Inc. f/k/a Image Trends, Inc., No. 14-11583 (Bankr. W.D. Tex.); (i) In re


2
 Capitalized terms used herein but not otherwise defined shall have the meanings set forth in the Application.
3
 Waller’s Austin attorneys previously worked for the firm of Taube Summers Taylor Meinzer Brown, LLP (f/k/a
Hohmann, Taube & Summers, LLP ) before joining Waller in February 2016.
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Advanced Living Technologies, Inc., No. 13-10313 (Bankr. W.D. Tex.); and (j) In re Church

Street Health Management, LLC, No. 12-01573 (Bankr. M.D. Tenn.).

         4.        Given Waller’s breadth of experience in large bankruptcy matters, Waller is

uniquely qualified to represent the Debtor in this Chapter 11 Case.

         5.        On July 15, 2019 (the “Retention Date”), the Debtor executed the engagement

letter (the “Engagement Letter”) with Waller, a true and correct copy of which is attached hereto

as Exhibit 1-A concerning the engagement and assessment of the Debtor by Waller.

         6.        The Engagement Letter sets forth the scope of Waller’s services. Since the

Retention Date, Waller has provided the Debtor with a wide array of legal services in connection

with their business affairs and their restructuring and reorganization efforts. Waller’s

professionals have worked closely with the Debtor’s management and other professionals with

regard to these matters and, given both past representations and recent work, Waller is well-

acquainted with the Debtor’s corporate history, structure, business operations, and the

background that has lead the Debtor to file this Chapter 11 Case. As a result, Waller has

developed relevant experience and expertise regarding the Debtor that will assist it in providing

effective and efficient services in the Chapter 11 Case.

                                 SERVICES TO BE PROVIDED

         7.        The Debtor seeks to employ Waller on an hourly basis to act as the Debtor’s

general bankruptcy and restructuring counsel in the Chapter 11 Case and in matters that arise

with respect thereto or to the Debtor, and to provide the Debtor with general legal services in

other areas, including, without limitation, legal services relating to the operation of the Debtor’s

businesses, securities laws, tax, and corporate governance. In particular, the Debtor anticipates

that Waller will render, among others, the following professional services:

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         a.        advising the Debtor with respect to its powers and duties as a debtor in possession
                   in the continued management and operation of the Debtor’s business and
                   property;

         b.        advising and consulting on the conduct of this Chapter 11 Case, including all of
                   the legal and administrative requirements of operating in a case under chapter 11
                   of the Bankruptcy Code;

         c.        attending meetings and negotiating with representatives of creditors and other
                   parties in interest;

         d.        taking all necessary actions to protect and preserve the Debtor’s estate, including
                   prosecuting actions on the Debtor’s behalf, defending any action commenced
                   against the Debtor, and representing the Debtor in negotiations concerning
                   litigation in which the Debtor is involved, including objections to claims filed
                   against the Debtor’s estate;

         e.        preparing pleadings in connection with this Chapter 11 Case, including motions,
                   applications, answers, orders, reports, and papers necessary or otherwise
                   beneficial to the administration of the Debtor’s estate;

         f.        representing the Debtor in connection with obtaining authority to continue using
                   cash collateral and obtaining postpetition financing;

         g.        advising the Debtor in connection with any potential sale of assets;

         h.        appearing before this Court and any appellate courts to represent the interests of
                   the Debtor’s estate;

         i.        advising the Debtor regarding tax matters;

         j.        taking any necessary action on behalf of the Debtor to negotiate, prepare, and
                   obtain approval of a disclosure statement and confirmation of a chapter 11 plan
                   and all documents related to the foregoing; and

         k.        performing all other necessary legal services for the Debtor, in connection with
                   the prosecution of this Chapter 11 Case, including: (i) analyzing the Debtor’s
                   leases and contracts and the assumption and assignment or rejection of same;
                   (ii) analyzing the validity of liens against the Debtor or its estate; and
                   (iii) advising the Debtor on corporate and litigation matters.

         8.        The Debtor requires knowledgeable counsel to provide these essential

professional services. Waller has stated its desire and willingness to act in the Chapter 11 Case

and provide the necessary services as attorneys for the Debtor. As noted above, Waller has

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substantial expertise in all of these areas, and has gained valuable knowledge of the Debtor’s

business and financial affairs as a result of its prepetition representation of the Debtor. For all of

these reasons, Waller is both well qualified and uniquely able to represent the Debtor’s interests

in the Chapter 11 Case.

                             PREPETITION PAYMENTS TO WALLER

         9.        Per the terms of the Engagement Letter, on July 22, 2019, the Debtor paid Fifty

Thousand Dollars ($50,000) to Waller as an advance payment retainer consistent with the

Tennessee Rules of Professional Conduct.4

         10.       Pursuant to the Engagement Letter, on December 13, 2019, the Debtor paid an

additional One Hundred Fifty Thousand Dollars ($150,000) to Waller, bringing the advance

payment retainer balance (the “Retainer Balance”) to Two Hundred Thousand Dollars

($200,000).

         11.       Shortly before the Petition Date, Waller applied a portion of the Retainer Balance

to pay all then accrued and anticipated unpaid fees for services performed and expenses incurred.

Accordingly, Debtor will not owe Waller any sums for prepetition services.

         12.       In the seven (7) months prior to the filing of the Chapter 11 Case, Waller received

payments from the Debtor in the aggregate amount of approximately $233,278.72 for

professional services rendered and expenses incurred. After giving effect to the reconciliation

process described in the preceding paragraph, Waller expects the Retainer Balance to be

approximately $163,744.30. This Retainer Balance will be held by Waller as security for post-

petition services and expenses. A chart detailing the timing and amount of each advance payment


4
  In order to make payments to third parties, the Debtor funds, or causes to be funded, payments to Harrisburg
Catholic Administrative Services, Inc. (“HCAS”). As part of its administrative responsibilities pursuant to certain
services agreements, HCAS, in turn, makes payments to such third parties on the Debtor’s behalf using such funds.
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and application of the Retainer Balance against fees and expenses is attached hereto as Exhibit

2.

                     WALLER’S FEES FOR SERVICES TO BE RENDERED
                      IN CONNECTION WITH THE CHAPTER 11 CASE

         13.       Except as described herein, pursuant to the terms and conditions of the

Engagement Letter and subject to the Court’s approval, Waller intends to (a) charge for its legal

services on an hourly basis in accordance with its ordinary and customary hourly rates in effect

on the date services are rendered, and (b) seek reimbursement of actual and necessary out- of-

pocket expenses.

         14.       Waller’s current hourly rates for matters related to this Chapter 11 Case are as

follows:

               Professional Level                                        Hourly Rate Range
               Partner                                                 $395 - $765
               Sr. Counsel                                             $475 - $665
               Counsel                                                 $385 - $610
               Sr. Associate                                           $335 - $410
               Associate                                               $280 - $335
               Staff Attorney                                          $210 - $350
               Paralegal                                               $180 - $270
               Staff                                                   $20 - $285

         15.       Waller’s hourly rates are set at a level designed to compensate Waller fairly for

the work of its attorneys and paraprofessionals and to cover fixed and routine expenses. Hourly

rates vary with the experience and seniority of the individuals assigned. These hourly rates are

subject to periodic adjustments to reflect economic and other conditions.5 Waller has represented


5
 The hourly rates charged by Waller professionals differ based on, among other things, the professional’s level of
experience. Like many of its peer law firms, Waller increases the hourly billing rate of attorneys and
paraprofessionals each year in the form of: (i) step increases historically awarded in the ordinary course on the
basis of advancing seniority and promotion and (ii) periodic increases within each attorney’s and paraprofessional’s
current level of seniority. The step increases do not constitute “rate increases” (as the term is used in the U.S.
Trustee Fee Guidelines). As set forth in the Proposed Order, Waller will provide ten business days’ notice to the
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the Debtor during the period before the Petition Date using the hourly rates listed above. These

hourly rates are consistent with the rates that Waller charges other non-bankruptcy and chapter

11 clients, regardless of the location of the chapter 11 case. Moreover, the rate structure is

appropriate and not significantly different from (a) the rates Waller charges for other similar

types of representations or (b) the rates that other comparable counsel would charge to do work

substantially similar to the work Waller will perform in this Chapter 11 Case.

         16.       A list of the professionals currently expected to provide services to the Debtor and

the current hourly rates for these professionals for 2020 is attached hereto as Schedule 1. Other

attorneys may also provide services to the Debtor as well, depending on the legal issues facing

the Debtor.

         17.       Waller will maintain detailed, contemporaneous records of time spent, as well as

any actual and necessary expenses incurred, in connection with the rendering of the legal

services described above by category and nature of the services rendered. Notwithstanding the

foregoing, Waller acknowledges its compensation will be subject to approval by this Court.

         18.       Waller intends to apply to the Court for payment of compensation and

reimbursement of expenses in accordance with the procedures set forth in the applicable

provisions of sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, and the Local

Rules, as those procedures may be modified or supplemented by order of this Court. As specified

above, Waller will hold the Retainer Balance as security for postpetition services and expenses

and will bill the Debtor during the pendency of the Chapter 11 Case, subject to approval by the




Debtor, the U.S. Trustee, and any official committee before implementing any periodic increases, and shall file such
notice with the Court.
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Court. The Retainer Balance will be applied to Waller’s final fee application, as approved by the

Court.

         19.       Waller has agreed not to share with any person or firm the compensation to be

paid for professional services rendered in connection with the Chapter 11 Case, other than as

permitted pursuant to section 504 of the Bankruptcy Code. Waller also intends to make a

reasonable effort to comply with the U.S. Trustee’s request for information and additional

disclosures as set forth in the U.S. Trustee Fee Guidelines, both in connection with the

Application and the interim and final fee applications to be filed by Waller in this Chapter 11

Case.

         20.       It is Waller’s policy to charge its clients in all areas of practice for identifiable,

non-overhead expenses incurred in connection with the client’s case that would not have been

incurred except for representation of that particular client. It is also Waller’s policy to charge its

clients only the amount actually incurred by Waller in connection with such items. Examples of

such expenses include postage, overnight mail, courier delivery, transportation, overtime

expenses, computer-assisted legal research, photocopying, airfare, meals, and lodging. In

addition, Waller professionals also may charge their overtime meals and overtime transportation

to the Debtor consistent with prepetition practices.

         21.       Consistent with past practice, Waller will charge no more than $0.20 per page for

standard duplication services in this Chapter 11 Case. Waller does not charge its clients for

incoming facsimile transmissions.

         22.       By separate applications, the Debtor is seeking Court approval for the retention of

Keegan, Linscott & Associates, PC as financial advisors, and Kleinbard, LLC as special

(collectively with Waller, the “Debtor’s Professionals”). The Debtor previously sought approval
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to retain Epiq Corporate Restructuring, LLC as their claims, noticing and balloting agent. The

Debtor may also file motions or applications to employ additional professionals.

         23.       Each of the firms listed above works, and will continue to work, under the

direction of the Debtor’s management. I understand that the Debtor’s directors and senior

management are committed to minimizing duplication of services to reduce professional costs,

among other things. To that end, Waller will work closely with each professional to ensure that

there is no unnecessary duplication of effort or cost.

                                WALLER’S DISINTERESTEDNESS

         24.       To the best of my knowledge, information, and belief, (a) other than its prior

representations of the Debtor and its representation in connection with the Chapter 11 Case,

Waller has no connection with the Debtor except as disclosed herein; (b) Waller does not

represent, and has not represented, any entity other than the Debtor in the Chapter 11 Case;

(c) Waller does not have any connection with, and has not represented in the past, the United

States Trustee for the Middle District of Pennsylvania, or any person employed by the Office of

the United States Trustee for the Middle District of Pennsylvania; and (d) Waller does not have

any connection with the Debtor’s creditors, any other party in interest, or their respective

attorneys and accountants, except as set forth below.

         25.       To check and clear conflicts, and in preparing my declaration, Waller used a set of

procedures that it has developed to ensure compliance with the requirements of the Pennsylvania

Rules of Professional Conduct, conflicts rules observed by the Third Circuit Court of Appeals,

the Bankruptcy Code, and the Bankruptcy Rules regarding the retention of professionals in

chapter 11 cases. Pursuant to these procedures, Waller performed the following actions to


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determine whether Waller or any of its attorneys has any connections with, has in the past

represented, or is currently representing potential parties in interest in the Chapter 11 Case:

         (a)       A list of interested parties (the “Interested Parties”) was created using
                   information provided by the Debtor and additional information identified by
                   Waller. The list of Interested Parties is comprised of the following entities, whose
                   identities are set forth in Schedule 2, attached hereto:

                       (i)      the Debtor and certain non-debtor affiliates;

                       (ii)     the Debtor’s secured bank lenders and their counsel;

                       (iii)    the Debtor’s top 20 unsecured creditors;

                       (iv)     the Debtor’s prepetition and (proposed) postpetition advisors,
                                attorneys, and other professionals;

                       (v)      officers, managers, and board members of the Debtor serving
                                currently or within the past two years;

                       (vi)     the Debtor’s cash management banks, landlords, utility providers,
                                insurers, insurance brokers, and taxing authorities;

                       (vii)    parties adverse to the Debtor in significant litigation;

                       (viii)   lienholders on property of the Debtor’s estates;

                       (ix)     United States Bankruptcy Judges in the Middle District of
                                Pennsylvania; and

                       (x)      United States Trustee for the Middle District of Pennsylvania,
                                Harrisburg Division, and their attorneys.

         (b)       Waller compared each of the Interested Parties to the names that Waller maintains
                   in its master conflicts database. Waller’s client database includes: (i) the name of
                   each current or former client; (ii) the names of any entities materially related to,
                   or materially adverse to, such current or former client; (iii) the names of the
                   Waller attorneys responsible for such current or former clients; (iv) the status of
                   the matter as either “active” or “inactive”; and (v) the dates on which the matter
                   was opened and/or closed. Waller also circulated the list of Interested Parties to
                   its attorneys, who were required to disclose any actual or potential conflicts of
                   interest as part of Waller’s normal conflicts screening procedures; and

         (c)       Any matches between the Interested Parties and the entities in Waller’s client
                   database were identified, reviewed by an attorney, and compiled for purposes of
                   this Declaration. To the extent that Waller currently represents, or has represented
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                   within the last three years, any of the Interested Parties, the identities of such
                   entities are set forth in this Declaration. In determining whether a client is
                   presently represented by Waller, Waller attorneys relied on the existence of an
                   “active” notation on the report to reflect current representation. With respect to
                   matters showing as “inactive,” Waller relied on the “close date” to determine
                   whether the representation occurred within the past three years. If an “inactive”
                   matter opened prior to February 2017 showed no “close date,” Waller assumed
                   for purposes of this disclosure that the matter was inactive during the past three
                   years and did not include the client in this Declaration. If an “inactive” matter
                   was opened on or after February 2017 but showed no “close date,” the client is
                   included in this Declaration.

         26.       Based on the search of names set forth in Schedule 2, Waller concluded it has the

following connections with the Debtor and the Interested Parties:

         (a)       Waller currently represents, and may in the future continue to represent, Republic
                   Services. No Waller attorney working on this Chapter 11 Case is personally
                   involved with the representation of Republic Services. Waller does not believe its
                   representation of Republic Services presents a conflict for Waller, but is making
                   this disclosure out of an abundance of caution. To be clear, Waller has not
                   represented and will not represent Republic Services or any other parties other
                   than the Debtor in this Chapter 11 Case.

         (b)       From time to time, Waller has represented, and likely will continue to represent,
                   certain creditors of the Debtor and other parties actually or potentially adverse to
                   the Debtor in matters unrelated to the Chapter 11 Case. As described herein,
                   Waller has undertaken a detailed search to determine whether it represents or has
                   represented any significant creditors, insiders or other parties in interest in such
                   unrelated matters, and all such known representations within the last three years
                   are described herein. Due to the breadth of Waller’s client base, the firm is not
                   subject to undue influence of any single client.

         27.       Other than as disclosed in the preceding paragraph, Waller does not have any

connections with the Interested Parties. Services provided to the entities disclosed herein and/or

their affiliates or related entities as identified by Waller’s master client database, do not

individually represent a material percentage of Waller’s revenue for the twelve-month period

ending February 1, 2020. Moreover, Waller has a diverse client base and does not believe that

any individual entity (or in the case of affiliated entities, any such affiliate group) on the


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Interested Parties list represents more than 1.5% of Waller’s revenue for the twelve-month period

ending February 1, 2020. Due to the breadth of Waller’s client base, the firm is not subject to the

undue influence of any single client. To be clear, Waller does not and will not represent any of

these parties in connection with the Chapter 11 Case.

         28.       I am confident that our diligence has resulted, to the greatest extent possible, in

the disclosure of all potential conflicts. However, despite the efforts described herein to identify

and disclose Waller’s connections with parties in interest in the Chapter 11 Case, I am unable to

state with absolute certainty that every client representation or other connection has been

disclosed because Waller is a national law firm with over 235 attorneys in five offices. In this

regard, if Waller discovers additional information that requires disclosure, Waller will file a

supplemental disclosure with the Court. Additionally, to the extent that issues may arise which

would cause the Debtor to be adverse to any of Waller’s clients, Waller will obtain and disclose

waivers or, to the extent that it would not be appropriate for Waller to represent the Debtor with

respect to such matters, other counsel employed by the Debtor will represent the Debtor in

connection with such matters.

         29.       Based upon information available to me at this time, I believe that Waller is a

“disinterested person” pursuant to section 101(14) of the Bankruptcy Code, and that Waller does

not hold or represent an interest adverse to the Debtor or their estates as required by section

327(a) of the Bankruptcy Code. Specifically, I do not believe that the connections between

Waller and the entities listed herein will impair Waller’s ability to represent the Debtor in this

Chapter 11 Case.

         30.       No promises have been received by Waller or any member or associate thereof as

to payment or compensation in connection with this case other than in accordance with the
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provisions of the Bankruptcy Code and the Bankruptcy Rules. Other than with members and

regular associates of the firm, Waller has no agreement with any other entity to share with such

entity any compensation received by Waller.

         31.       Consistent with the U.S. Trustee Fee Guidelines, I state as follows:

        Waller has not agreed to a variation of its standard or customary billing arrangements for
         this engagement.

        None of Waller’s professionals included in this engagement have varied their rate based
         on the geographic location of the Chapter 11 Case.

        Waller was retained by the Debtor pursuant to the Engagement Letter dated as of July 15,
         2019. The material terms of the prepetition engagement are the same as the terms
         described in the Application and herein, and the billing rates have not changed other than
         periodic annual increases as provided in the Engagement Letter and explained in the
         Application.

        The Debtor has approved or will be approving a prospective budget and staffing plan for
         Waller’s engagement for the postpetition period as appropriate. In accordance with the
         U.S. Trustee Guidelines, the budget may be amended as necessary to reflect changed or
         unanticipated developments.

         32.       The foregoing constitutes the statement of Waller pursuant to sections 327(a), 329

and 504 of the Bankruptcy Code and Bankruptcy Rules 2014(a) and 2016(b).

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge, information, and belief.

Executed on February 24, 2020



                                                  /s/ Blake D. Roth
                                                 Blake D. Roth




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                                  EXHIBIT 1

                            ENGAGEMENT LETTER




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waller                                                   Waller Lansden Dortch & Davis, _LP
                                                         511 Union Street, Suite 2700
                                                         P.O. Box 198966
                                                         Nashville, TN 37219-8966
                                                                                              615.244.6380 main
                                                                                              6 15.244.6804 fax
                                                                                              wallerlaw.com

                                                             Blake D. Roth
                                                             615.850.8749 direct
                                                             blake.roth@wallerlaw.com




                                             July 15, 2019



 Roman Catholic Diocese of Harrisburg
 Attn: Very Reverend David L. Danneker, Ph.D.
 Vicar General and Moderator of the Curia
 4800 Union Deposit Road
 Harrisburg, Pennsylvania 17111-3710



         Re:       Engagement of Waller Lansden Dortch & Davis, LLP

Dear David:

       We are pleased that the Roman Catholic Diocese of Harrisburg (the "Diocese") has
decided to engage Waller Lansden Dortch & Davis, LLP. It is the practice of the firm to enter into
engagement letters with our clients. This letter shall serve that purpose by setting forth the basis
upon which we have agreed to undertake this representation.

Scope o[Representation

        Our client will be the Diocese and any related affilia tes later identified by amended
engagement letter. We will not represent individual officers, directors, employees or owners.
Hovvever, we anticipate that, in the course of our engagement, we may provide information or
advice to directors, officers or employees in their corporate capacities.

       We will advise the Diocese in connection with planning and preparing for a possible
reorganization under title 11 of the United States Code (the "Bankruptcy Code") and the filing
and implementation of a reorganization of the Diocese under the Bankrnptcy Code. Our
engagement will be divided into three phases, as follows:

            1.     Phase 1 will consist of revievving and analyzing t he Diocese's business records,
                   financial statements, and corporate documentation, in order to assess and
                   determine under what conditions a reorganization would be necessary or advisable
                   and whether a reorganization under the Bankruptcy Code is achi evable and
                   advisable;

             2.    Upon determining, in consultation with the Diocese, that a reorga nization under
                   the Bankruptcy Code is achievable and advisable, Phase 2 v,1 ill consist of:
                   (a) preparation of the necessary documentation to commence a reorganization
                   proceeding under the Bankruptcy Code; (b) negotiation with creditors and other
                   parties in interest necessary to the commencement of a reorganization proceeding
                   under the Bankruptcy Code; (c) preparation of a budget and framework plan of
                   reorganization, in consultation with the Diocese; and (d) upon approval by the



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                Diocese of a budget and framework plan of reorganization, commencement of a
                reorganization proceeding under the Bankruptcy Code; and

            3. Upon commencement of a reorganization proceeding under the Bankruptcy Code,
               Phase 3 will consist of representing the Diocese in all aspects of t he reorganization
               proceeding, in order to prosecute and consummate a successful plan of
               reorganization.

 It is not anticipated or contemplated that Phase II will consist of a complete negotiation of a plan
 of reorganization prior to commencing a reorganization proceeding under the Bankruptcy Code.
 Similarly, it is not anticipated or contemplated that: (a) Phase I will exceed four to six weeks in
 duration; or (b) upon determining to proceed to Phase II, that Phase II will exceed three months.
 You may limit or expand t he scope of our representation from time to time, provided that any
 substantial expansion of our services must be agreed to by us in ,,vriting in advance and must be
 cons is tent with both our ethical obligations and the terms of this letter. The terms of this letter
 apply to future engagements of the firm by the Diocese unless ,,ve mutually agree otherwise.

         Our engagement does not include providing to you any advice or other legal services
 relating to federal or state securities laws, including appearing or practicing before the U.S.
 Securities and Exchange Commission or your disclosure obligations under such laws, and we
 underst and that you will not, without our prior written consent, name us or include documents
 or information we provide to you in any filings with federal or state securities regulators, including
 the SEC.

         The services to be provided by the firm in connection with the engagement will encompass
 all services normally and reasonably associated vvith this type of engagement which the firm is
 requested and is able to provide and which are consistent with its ethical obligations.

        Unless we receive instructions to the contrary, we will direct all of our formal
 communications and correspondence to your attention. If you would like for us to communicate
 instead with someone else on any particular subject, please provide the appropriate information.

        All work on this matter will be done by me or performed under my general supervision.
 As appropriat e, we will utilize other attorneys, legal assistant s and clerical personnel according to
 the needs of th e matter and in order to ensure that your work is being performed efficiently and
 economically. Should you have any questions or concerns about any person from this fi rm who
 is working on the Diocese's matters, or any work b eing performed by us on your b ehalf, please do
 not hesitate to contact me about your questions or concerns. Also, we would like for you to note
 that the firm is a limited liability partnership. If you have any questions on this, please contact
 our General Counsel, Ames Davis, at (615) 244-6380.

 Review and lVaiver of Conflicts

         We have evaluated potential conflicts of interest with respect to our representation of t he
 Diocese. We are not currently aware of any conflicts that would preclude our representation of
 t he Diocese in connection with this matter. We must rely on you to tell us if and when the Diocese




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 develops relationships with other individuals or entities in the future that we should screen for
 possible conflicts of interest.

          You are aware, of course, that the firm represents many other companies and indi\·iduals.
 It is possible that during the time that we are representing the Diocese, some of our present or
 future clients will have disputes or transactions vvith the Diocese. Absent an effective conflicts
 ,,vaiver, conflicts of interest may arise that could adversely affect your ability and the ability of
 other clients of the firm to choose the firm as its counsel and preclude the firm from representing
 you, or other clients of our firm, in pending or future matters. Given that possibility, we wish to
 be fair b oth to you and to our other clients. Accordingly, this letter ,,.rill confirm our mutual
 agreement that the firm may represent other present or future cl ients on matters which are
 unrelated to those for which it had been or is then engaged by the Diocese, which are referred to
 as "Permitted Adverse Representations." Before agreeing to this provision, the Diocese should
 have it reviewed by its general counsel or independent outside counsel. In furtherance of this
 mutual agreement, the Diocese agrees that it will not for itself or any oth er party assert the firm's
 representation of the Diocese, either previously, in its then existing representation, or in any other
 matter in which the Diocese retains the firm, as a basis for disqualifying the fi rm from
 representing another party in any Permitted Adverse Representation and agrees that any
 Permitted Adverse Representation does not constitute a breach of any duty owed by the firm .

          Our representation of the Diocese is premised on the firm's adherence to its professional
 obligation not to disclose any confidential information or to use it for another party's benefit
 without the Diocese's consent. Provided that the firm acts in this manner, the Diocese agrees that
 it will not for itself or any other party assert that the firm's possession of such information, even
 though it may relate to a matter for which the firm is representing another client or may be known
 to someone at the firm working on such a matter, (a) is a basis for disqualifying the firm from
 representing another of its clients in any matter in which the Diocese or any other party has an
 interest or (b) constitutes a breach of any duty owed by the firm .

 Client Responsibilities

          You agree on behalf of the Diocese to pay our statements for senriccs and expenses in
 accordance with this letter. You also agree on behalf of the Diocese to cooperate fully with us and
 to provide promptly all information known or available to you relevant to our representation. If
 you affiliate with, acquire, are acquired by or merge ""rith another company, you will provide us
 with sufficient notice to permit us to withdraw as your attorneys if we determine that such
 affiliation, acquisition or merger creates a conflict of interest between any of our clients and the
 other party to such affiliation, acquisition or merger, or if we determine that it is not in the best
 interests of the firm to represent the new entity . You agree to keep us apprised of your current
 contact information.

 Fees and Expenses

        Our fees will be based on our standard hourly rates for each attorney and paralegal
 devoting time to this matter and billed monthly. The hourly rate will vary depending upon the
 person who is working on the matter and the fee schedule then in effect. My present hourly rate
 is $405. Our attorneys' hourly rates range from $215 to $700 per hour, depending on the level of


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 experience of the individual involved. The hourly rates for paralegals range from $150 to $240.
 We customarily review our rates during the last quarter of each year and any adjustments
 generally will become effective for work performed on or after the following January 1 to accoun t
 for increased business costs and the increased level of experience of our attorneys. As discussed,
 Waller will provide a five percent (5%) discount from our standard hourly rates for each attorney
 and paralegal devoting time to th is matter.

         While Waller's fees will be based upon our standard hourly ra tes (with the five percent
 discount), based upon the above-described scope of services for Phase I and Phase II of this
 engagement, during: (a) Phase I, Waller will cap the fees chargeable to the Diocese to Fifty
 Thousand Dollars ($50,000); and (b) Phase II, Waller will cap the total fees chargeable to the
 Diocese to Two Hundred Thousand Dollars ($200,000) plus any amounts not incurred b elovv the
 cap set for Phase I. Upon the commencement of Phase II, amounts incurred above the cap during
 Phase I may be paid during Phase II; provided, however, that in no event shall the Diocese fees
 for Phase I and Phase II exceed Two Hundred Fifty Thousa nd Dollars ($250,000) in the
 aggregate.

         In addition, we will charge for out-of-pocket disbursements made in connection with this
 representation. Usual disbursements include, but are not limited to, examples such as filing fees,
 travel expense and transcripts. We also charge fo r certain in-house support services such as
 messenger and delivery service, photocopying, document assembly and processing and
 computerized research. Our disbursements and charges for services are shown on our monthly
 bills as "Expenses." In addition, where expenses are significant, invoices may be forwarded
 directly to you for payment.

          During the course of this engagement, we may suggest that th e Diocese authorize us to
 retain consul tants, experts or other vendors ("vendors") to provide additional services needed for
 our successful representation of the Diocese in this matter. Any such party v,rill be chosen by the
 Diocese in its sole discretion. In order to protect the information and opi nions given by vendors
 to the maximum extent possible, we may recommend that we retain any , ·endors on the Diocese's
 behalf. However, 'vVe will forward to the Diocese copies of all statements and billings received
 from vendors, and you agree on the Diocese's behalf t o advance to us the funds necessary to
 reimburse them in a timely fashion. In the event the Diocese contests or objects to all or part of
 any statement or b illing received from a vendor, our firm will not be responsible for advancing
 fund s to pay those disput ed am ounts and may exercise its absolute right to assign its contract with
 the vendors to the Diocese. The Diocese consents to such an assignment.

         Each of our attorneys a nd paralegals maintains detailed t ime records o f s ervices
 perfo rmed. This practice results in a monthly billing sta tement showing, on a daily basis, the
 amount of time spent, the work performed, by whom, and the total am ount charged . Our
 statements will be mailed d uring the month followin g performance of the·service.

          As is our practice with clients receiving services in connection v,rith a potential bankruptcy
 filing, because of certain requirements imposed by the Bankruptcy Code, our representation v,,jll
 not commence until we receive from you a retainer in the amount of: (a) $50,000 fo r Phase J;
 (b) $200,00 for Phase II; and (c) $200,000 for Phase III. (The retainer fo r each phase will be
 carried over to the following phase, to the extent unused.) We will not clravv on t he retainer during




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 Phase I or Phase II. During Phase III, We will draw against those funds to satisfy our monthly
 statements, copies of which v,1 ill be sent to the Diocese for its information. Any unapplied balance
 will be returned to the Diocese immediately upon termination of our representation .

        The Diocese shall replenish the amount held on deposit monthly upon receipt of each bill.
 In addition, should a monthly bill exceed the amount held on deposit, the Diocese will replenish
 such deposit and pay any balance owing on the current monthly bill after application thereof. If
 the amount held on deposit is not replenished promptly, we reserve the right to discontinue ou r
 representation until the Diocese pays such amount. We reserve the right to request additional
 advances from t ime to time based o n our estimates of future work to be undertaken . If the amount
 requested is not promptly paid, ,,ve reserve the right to discontinue our representation until the
 Diocese pays such amount.

         We vvill send a statemen t fo r our services on a monthly basis. The Diocese hereby agrees
 to pay our sta tements promptly upon receipt. If any statement remains unpaid for more than 30
 days, we may cease performing services for the Diocese until arrangements satisfactory to us have
 been made for payment of outstanding statem ents and the payment of future fees and expenses.
 We reserve the right to charge interest on all amounts not paid within 30 days of billing at the rate
 of 1% per month. Our fees and expenses due include those incurred to collect unpaid statements.
 Our fees for such work will be charged at standard hourly rates.

        We welcome at any time a frank and open d iscussion with you concerning our rates,
 monthly statements and remittance policies as outlined above. If you have questions o r concerns
 about any item on our statements, please contact me, o r if a question should be addressed at
 another level, you may call J ohn Southwood, Director of Finance, at (615) 850-8837.
 Additionally, should we have questions during tl1e course of this representation concern ing your
 remittance of payment, John, or a member of his staff, may contact you .

 Spoliation ofEvidence

          The Diocese should be aware that the alteration, destruction, o r other "spoliation" of
 evidence relevant to a legal dispute or which may lead to the discovery of relevant information
 may give rise to additional liability and/or m ay significantly impair the Diocese's position in
 litigation. This may include physical, as well as documentary and electronic, evidence. If any
 issue concerning the alteration or disposal of anything that may constitu te evidence relevant to
 any legal dispute is encountered, we should be consulted im mediately.

 Insul'ance Con sidel'atio ns

        The Diocese should consider whether or not insurance is available which may provide
 coverage, including attorneys' fees and expenses related to this engagement.

 Preser vation o(Docun1ents

        In connection with this matter, we ask that you conduct a thorough search of your office
 and any file storage areas for all items regarding th e circumstances that arc the subject of this
 reprcsen tation.


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         Your search should include all documents (e.g., letters, memos, handwritten notes),
 microfilm, audiotapes, videotapes, electronic files, e-mail, computer diskettes, information stored
 on your computer desktop and/or laptop hard drive (including any hand held or home computers),
 central group files and information stored in onsite or offsite sto rage areas. You should sea rch
 and preserve even those items that you may cons ider confidential (e.g., trade secrets, sensitive
 business information) or privileged (e.g., communications to/from a lawyer, communications
 seeking legal advice). We may have an ongoing obligation to provide documents in this matter.
 Thus, you must also inform us of any responsive information that you obtain, create or become
 aware of in the future .

        You must maintain these items and any other responsive items that you may later obtain
 and/or create until you are othen,vise notified by us. You may not des troy, alter or otherwise
 dispose of these items. f ailure to comply with these requirements can lead to serious
 consequences, including sanctions by a court.

 Conclusion ofReprese ntation; Retention and Disposition o[Docwnents

         The Diocese has the right to terminate our representation at any Lime. We will have the
 same right, subject to the duties imposed upon attorneys by the Tennessee Rules of Professional
 Conduct. Unless previously terminated, our representation of the Diocese will terminate upon our
 sending you our fi nal statement for services rendered. Upon termination of our engagement, all
 fees previously incurred and all costs previously advanced will be due.

         At the conclusion of our representation of the Diocese in this ma tter, by termination or
 otherwise, our files, including attorney work product pertaining to our representation, will b e
 retai ned by the firm . All such documents will be transferred Lo the person responsible for
 administering our records retention program. For various reasons, including the minim ization
 of unnecessary storage expenses, we reserve the right to destroy or otherwise dispose of any such
 documents or other materials retained by us v.rithin a reasonable time after the termination of the
 engagement. Any othenvise nonpublic information the Diocese has supplied to us which is
 retained by us will be kept confidential in accordance v.rith the Tennessee Rules of Professional
 Conduct. At your request, the Diocese's papers and property will be returned lo it.

 Post-Engagement Matters

         After completion of this representation, changes may occur in the applicable laws or
 regulations that could have a n impact upon your future rights and liabilities. Unless you engage
 us after completion of the matter as described herein to provide acid itional ad vice on issues arising
 from these matters, the firm has no continuing obligation to advise you wi th respect to future legal
 developments . The provisions of this letter will continue in effect if the l'irm's representation of
 the Diocese was ended at your election (which, of course, the Diocese would be free to do at any
 time) or by the firm (which would be subject to ethical requirements).

        You hereby consent to the firm disclosing your name and a brief description of any
 transactions completed by you with our assistance in our Website disclosures and/or marketing
 materials.



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        This agreement shall be governed by and interpreted in accordance with the laws of the
 State of Tennessee vvithout regard to its conflicts of laws principles.

         You may wish to review this letter with other counsel. Obviously, if you wa nt t o discuss
 any aspect of this letter further, please call me. We believe that candid communication between
 us is essential, and we welcome any suggestions you may have at any Lime as to how we might
 belter be of service. My colleagues and I look forwa rd to working with you.




 BDR: bd r




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                                                 SCHEDULE 2

                                          INTERESTED PARTIES

Debtor & Related Entities/Trusts

Roman Catholic Diocese of Harrisburg
Harrisburg Catholic Administrative Services, Inc.
Roman Catholic Diocese of Harrisburg Charitable Trust
Roman Catholic Diocese of Harrisburg Real Estate Trust
Roman Catholic Diocese of Harrisburg Irrevocable Trust
Foundation of Catholics United in Service
Pennsylvania Catholic Conference
Catholic Charities of the Diocese of Harrisburg, Pennsylvania. Inc.
Kolbe Catholic Publishing, Inc.

Deaneries, Parishes, and Missions

Adams Deanery, including the following parishes:
   Immaculate Heart of Mary Parish                                  Saint Vincent de Paul Parish
   Saint Joseph the Worker Parish                                   Saint Aloysius Parish
   Basilica of the Sacred Heart Parish                              Annunciation of the Blessed Virgin Mary Parish
   Saint Francis Xavier Parish                                      Immaculate Conception of the Blessed Virgin
   Saint Joseph Parish                                               Mary Parish

Cumberland/Perry Deanery, including the following parishes:
   Good Shepherd Parish                                             Saint Katharine Drexel Parish
   Saint Patrick Parish                                             Saint Elizabeth Ann Seton Parish
   Saint Bernadette Mission Parish                                  Saint Joseph Parish
   Our Lady of Lourdes Parish                                       Saint Bernard Parish
   Our Lady of Good Counsel Parish                                  Saint Theresa of the Infant Jesus Parish

Dauphin Deanery, including the following parishes:
   Saint Matthew the Apostle Parish                                 Saint Joan of Arc Parish
   Cathedral Parish of Saint Patrick Parish                         Sacred Heart of Jesus Parish
   Holy Family Parish                                               Seven Sorrows of the Blessed Virgin Mary
   Holy Name of Jesus Parish                                         Parish
   Our Lady of the Blessed Sacrament Parish                         Saint Jude Thaddeus Parish
   Saint Catherine Labouré Parish                                   Queen of Peace Parish
   Saint Francis of Assisi Parish                                   Prince of Peace Parish
   Saint Margaret Mary Alacoque Parish

Franklin Deanery, including the following parishes:
   Saint Rita Parish                                                Saint Mark the Evangelist Parish
   Saint Ignatius Parish                                            Saint Luke the Evangelist Mission
   Corpus Christi Parish                                            Our Lady of the Visitation Parish
   Our Lady of Refuge Mission                                       Saint Andrew the Apostle Parish
   Immaculate Conception of the Blessed Virgin
    Mary Parish

Lebanon Deanery, including the following parishes:
   Saint Paul the Apostle Parish                                    Sacred Heart of Jesus Parish



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   Our Lady of Fatima Mission                            Saint Cecilia Parish
   Assumption of the Blessed Virgin Mary Parish          Mary, Gate of Heaven Parish
   Saint Benedict the Abbot Parish                       Holy Spirit Parish

North Lancaster Deanery, including the following parishes:
   Holy Trinity Parish                                   Saint James Parish
   Saint Peter Parish                                    Saint Richard Parish
   Saint Peter Parish                                    Mary, Mother of the Church Parish
   Our Mother of Perpetual Help Parish                   Our Lady of Lourdes Parish

Northern Deanery, including the following parishes:
   Christ the King Mission                               Saint Joseph Parish
   Immaculate Conception of the Blessed Virgin           Sacred Heart of Jesus Parish
    Mary Parish                                           Saint George Mission
   Saint Joseph Parish                                   Saint Joseph Parish
   Saint Columba Parish                                  Saint Pius X Parish
   Our Lady of Mercy Parish                              Saint Monica Parish

Northumberland Deanery, including the following parishes:
   Our Lady of Hope Parish                               Our Lady of Mount Carmel Parish
   Queen of the Most Holy Rosary Parish                  Mother Cabrini Parish
   Holy Angels Parish                                    Saint Patrick Parish
   Our Lady Help of Christians Parish                    Sacred Heart of Jesus Mission Parish
   Divine Redeemer Parish

South Lancaster Deanery, including the following parishes:
   Assumption of the Blessed Virgin Mary Parish          Saint Joseph Parish
   Sacred Heart of Jesus Parish                          Saint Leo the Great Parish
   Saint Anne Parish                                     Saint Philip the Apostle Parish
   Saint Anthony of Padua Parish                         San Juan Bautista Parish
   Saint John Neumann Parish                             Saint Catherine of Siena Parish

York Deanery, including the following parishes:
   Saint Joseph Parish                                   Immaculate Conception of the Blessed Virgin
   Holy Infant Parish                                     Mary Parish
   Saint John the Baptist Parish                         Saint Joseph Parish
   Sacred Heart of Jesus Parish                          Saint Patrick Parish
                                                          Saint Rose of Lima Parish

Schools
   Holy Family Consolidated School                       Saint Joseph School (Northern Deanery)
   Saint Columbia School                                 Our Mother of Perpetual Help School
   Good Shepherd School                                  Saint Francis Xavier School
   Trinity High School                                   Saint Joseph School (Adams Deanery)
   Saint Patrick School (Cumberland/Perry                Saint Teresa of Calcutta School (Adams Deanery
    Deanery)                                               - Conewago Campus)
   Corpus Christi School                                 Bishop McDevitt High School
   Our Lady of Lourdes Regional School                   Harrisburg Catholic Elementary School
   Our Lady of the Angels School                         Holy Name of Jesus School
   Saint Joseph School (York Deanery -                   Saint Catherine Labouré School
    Dallastown)                                           Saint Margaret Mary Alacoque School
   Saint Cyril Pre-School and Kindergarten               Saint Joan of Arc School
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Epiq Corporate Restructuring, LLC

Officers, Managers, and Senior Management

Roman Catholic Diocese of Harrisburg
Most Reverend Ronald W. Gainer, D.D., J.C.L. (Bishop of Harrisburg)
Very Reverend David L. Danneker, Ph.D. (Vicar General and Moderator of the Curia)
Mr. Don Kaercher (Chief Financial Officer)

College of Consultors
Reverend Joshua R. Brommer                                   Reverend Charles L. Persing
Very Reverend William C. Forrey, V.F.                        Reverend Thomas J. Rozman
Reverend Monsignor William J. King                           Reverend Alfred P. Sceski
Reverend Monsignor Robert E. Lawrence                        Very Reverend Neil S. Sullivan, V.F.
Reverend Daniel C. Mitzel

Diocesan Finance Council
Mr. Mark B. Glessner
Dr. James Forjan
Ms. Lora A. Kulick, Esq.
Mr. Donald H. Nikolaus, Esq.
Very Reverend Edward J. Quinlan
Mrs. Lisa Rohrer
Mr. Kenneth R. Shutts

Presbyteral Council
Reverend Joshua R. Brommer                                   Reverend Daniel C. Mitzel
Reverend Philip G. Burger                                    Reverend Brian T. Olkowski
Very Reverend Paul M. Clark, JCL                             Reverend Charles L. Persing
Very Reverend Steven W. Fauser, V.F.                         Reverend Dnaiel K. Richards
Very Reverend William C. Forrey, V.F.                        Reverend Monsignor William M. Richardson
Reverend Robert M. Gillelan                                  Very Reverend Luis R. Rodriguez, V.F.
Reverend Leo M. Goodman                                      Reverend Thomas J. Rozman
Reverend Monsignor William J. King                           Reverend Alfred P. Sceski
Reverend Martin Kobos, OFM Conv.                             Mark M. Speitel
Reverend Monsignor Robert E. Lawrence                        Very Reverend Neil S. Sullivan, V.F.
Reverend Monsignor James M. Lyons, V.F.                      Reverend John A. Szada
Reverend Timothy D. Marcoe                                   Reverend Francis J. Tamburro
Reverend John McCloskey, OFM Cap.                            Reverend Pang S. Tcheou
Reverend J. Michael McFadden                                 Reverend Allan F. Wolfe

Cash Management Banks
PNC Bank
First National Bank
M&T Bank

Landlords
Roman Catholic Diocese of Harrisburg Real Estate Trust (listed under Debtor & Related Entities/Trusts)



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Bloomsburg Municipal Authority
Borough of Lewisburg Refuse Department
Capital Region Water
Citizens Electric Co.
City of Lancaster, PA
City Treasurer of Harrisburg, PA
Cocolamus Creek Disposal Service
Direct Entergy Business
Evans Disposal
Filson Water LLC
LAJSA
Lebanon Farms Disposal
Lower Paxton Township
Met-Ed - First Energy Corp.
Millersville Borough
Mostik Brothers Disposal
North Lebanon Township
Penn Waste Inc.
Pennsylvania American Water
PPL Electric Utilities Corp.
Republic Services
Suez Water Pennsylvania
Superior Plus Energy Services
Swatara Township Authority
Talley Petroleum
Town of Bloomsburg, PA
Tulpehocken Mountain Spring Water
UGI
Upper Allen Township
Walters Services Inc.
Waste Industries
Waste Management of Pennsylvania, Inc.

Insurers and Brokers
The Graham Company
Catholic Mutual Relief Society of America
Travelers Boiler (through Catholic Mutual)
New York Marine & General Insurance Co.
The National Catholic Risk Retention Group
Federal Insurance Company (Chubb)
Starr Indemnity & Liability Insurance Company
NAS Insurance (through Catholic Mutual)
Associated Industries Insurance Company (Amtrust)
QBE Insurance Corporation
Safety National (workers’ compensation surety bond)




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Sarah R. Schalman-Bergen (class action counsel)
Jeff Osterwise (class action counsel)
Patrick Madden (class action counsel)
Richard M. Serbin (class action counsel)
Benjamin D. Andreozzi (class action counsel)
Nathaniel L. Foote (class action counsel)

Known Survivors of Sexual Abuse
A sealed copy of the list of all the victims of sexual abuse known to the Diocese has been made available to the
United States Trustee and will be made available to the Court any statutorily appoint committee upon request.

United States Bankruptcy Judges and Staff, Middle District of Pennsylvania
Hon. Henry W. Van Eck
Hon Robert N. Opel II

Office of the United States Trustee, Middle District of Pennsylvania
Frederic Baker, Acting Assistant U.S. Trustee
Wendy Paul, Paralegal Specialist
Rebecca Plesic, Paralegal Specialist
D. Troy Sellars, Trial Attorney
Gregory B. Schiller, Trial Attorney




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                                       Exhibit C

                   Declaration of the Very Reverend David L. Danneker




4813-4264-2098.5

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                             UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                  HARRISBURG DIVISION

In re:                                                    Chapter 11

ROMAN CATHOLIC DIOCESE OF                                 Case No. 1:20-bk-00599 (HWV)
HARRISBURG,

                          Debtor.1


          DECLARATION OF VERY REVEREND DAVID L. DANNEKER
            IN SUPPORT OF DEBTOR’S APPLICATION FOR ENTRY
      OF AN ORDER APPROVING THE EMPLOYMENT AND RETENTION OF
    WALLER LANSDEN DORTCH & DAVIS, LLP AS COUNSEL FOR THE DEBTOR
      AND DEBTOR IN POSSESSION EFFECTIVE AS OF THE PETITION DATE

Pursuant to 28 USC § 1746, I, David L. Danneker, Ph.D., hereby declare and state as follows:

         1.        I am the Vicar General and Moderator of the Curia of the Roman Catholic

Diocese of Harrisburg (the “Debtor”), the debtor and debtor in possession in this chapter 11 case

(the “Chapter 11 Case”). I have served in my current capacity since June 20, 2016.

         2.        In such capacity, I am familiar with the matters set forth herein and make this

declaration (this “Declaration”) in support of the Debtor’s application (the “Application”)2

seeking approval to retain and employ Waller Lansden Dortch & Davis LLP (“Waller”),

effective as of the Petition Date, as general bankruptcy and restructuring counsel to the Debtor.

         3.        I submit this Declaration in support of the Application, pursuant to the Guidelines

for Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11

U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Effective as of November 1, 2013 (the

“U.S. Trustee Fee Guidelines”). Except as otherwise indicated herein, all facts set forth in this


1
  The last four digits of the Debtor’s federal tax identification number are: 4791. The Debtor’s principal place of
business is located at 4800 Union Deposit Road, Harrisburg, Pennsylvania 17111.
2
  Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Application.


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Declaration are based on my personal knowledge or my discussions with other members of the

Debtor’s management team and the Debtor’s advisors. If called upon to testify, I could and

would testify competently to the facts set forth herein.

         4.        I am informed by counsel that the U.S. Trustee Fee Guidelines request that any

application for employment of an attorney under 11 U.S.C. §§ 327 or 1103 be accompanied by a

verified statement from the client that addresses the following:

         i.        The identity and position of the person making the verification. The person
                   ordinarily should be the general counsel of the debtor or another officer
                   responsible for supervising outside counsel and monitoring and controlling legal
                   costs.

         ii.       The steps taken by the client to ensure that the applicant’s billing rates and
                   material terms for the engagement are comparable to the applicant’s billing rates
                   and terms for other non-bankruptcy engagements and to the billing rates and
                   terms of other comparably skilled professionals.

         iii.      The number of firms the client interviewed.

         iv.       If the billing rates are not comparable to the applicant’s billing rates for other
                   nonbankruptcy engagements and to the billing rates of other comparably skilled
                   professionals, the circumstances warranting the retention of that firm.

         v.        The procedures the client has established to supervise the applicant’s fees and
                   expenses and to manage costs. If the procedures for the budgeting, review and
                   approval of fees and expenses differ from those the client regularly employs in
                   nonbankruptcy cases to supervise outside counsel, explain how and why. In
                   addition, describe any efforts to negotiate rates, including rates for routine
                   matters, or in the alternative to delegate such matters to less expensive counsel.

                                         Selection of Counsel

         5.        Given Waller’s expertise in restructuring matters, Waller is well qualified to

represent the Debtor in this Chapter 11 Case. The Waller attorneys leading this engagement, and

generally the attorneys in Waller’s Finance and Restructuring Practice Group, have significant

experience representing debtors in large and complex cases under the Bankruptcy Code. In


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                                                   2

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addition, Waller has extensive experience in and expertise in virtually all other areas of the law

that may arise in the chapter 11 case.

                                             Rate Structure

         6.        Waller has informed the Debtor that its rates for bankruptcy representations are

comparable to the rates Waller charges for non-bankruptcy representations.

         7.        Waller’s rates and material terms of engagement are consistent with comparably

skilled professionals. The Debtor has approved Waller’s proposed hourly rates as set forth in the

Application and the Roth Declaration. Waller has informed the Debtor that its hourly rates are

subject to periodic adjustments to reflect economic and other conditions. The Debtor has

consented to such ordinary course rate increases.

                                            Cost Supervision

         8.        The Debtor recognizes its responsibility to closely monitor the billing practices of

its counsel to ensure that the fees and expenses remain consistent with the expectations and the

exigencies of the Chapter 11 Case. On behalf of the Debtor, I, or someone at my direction, will

review the invoices that Waller regularly submits. Waller’s fees and expenses will be subject to

periodic review on a monthly, interim and final basis during the course of the chapter 11 case by

the Debtor, the Office of the U.S. Trustee for the Middle District of Pennsylvania, and creditors

and other parties in interest upon the public filing of fee applications with the Court.

         9.        In addition, at all times, I, or someone at my direction, will assure the services

performed by Waller are not duplicative of other professionals engaged by the Debtor in the

ordinary course, such as Kleinbard, LLC.




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                                                    3

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         I declare under penalty of perjury that the foregoing is true and correct on this 24th day of

February 2020.

                                                /s/ David L. Danneker
                                               Very Reverend David L. Danneker, Ph.D.
                                               Vicar General and Moderator of the Curia




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